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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Emmanuel J. Argentieri (#3162)
      PARKER McCAY P.A.
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      Marlton, New Jersey 08053
      (856) 596-8900
      Attorneys for Pennsauken Township




      In Re:                                              Chapter 11
      SHAPES/ARCH HOLDINGS, LLC et al.
                                                          Case No: 08-14631 (GMB)

                                        Debtor            Judge: Gloria M. Burns

                                                          Hearing Date: April 3, 2008 at 10:00 a.m.

      LIMITED OBJECTION BY PENNSAUKEN TOWNSHIP TO DEBTOR’S REQUEST
        FOR A FINAL ORDER AUTHORIZING DEBTOR’S OBTAINMENT OF POST-
                            PETITION FINANCING

               Pennsauken Township (hereinafter “Township”) hereby asserts a limited objection to

      the debtor’s request for a final order approving its motion for post-petition financing pursuant

      to the following:

          1.      Debtor1 filed for relief under Chapter 11 of Title 11 U.S.C. on March 16, 2008.

          2.      Concurrent with the filings, debtor filed numerous first day motions, including but

                  not limited to, a motion seeking Court authorization to obtain post-petition

                  financing under 11 U.S.C. Sections 105, 362, 363, and 364.



      1
       Five petitions were filed on behalf of five different debtors on March 16, 2008; to wit:
      Shapes/Arch Holdings L.L.C.; Shapes L.L.C.; Delair L.L.C; Accu-Weld L.L.C.; and Ultra
      L.L.C. which were subsequently consolidated by Court Order dated March 18, 2008 for
      purposes of joint administration of the cases. For purposes of this objection the Township
      will use the term debtor even though its claim arises against realty owned by the debtor entity
      Shapes L.L.C.
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         3.    On March 18, 2008 the Court entered an Interim Order Authorizing Debtor to

               Obtain Post-petition Financing and Granting a Security Interest and a Super

               Priority Administrative Expense Status to the Post-petition Lenders under Title 11

               U.S.C. Sections 105, 362, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) and 364(e)

               along with other related relief.

         4.    At the time the debtor filed its Chapter 11 Petition, the Township held a pre-

               petition claim against the debtor in the aggregate amount of $2,008,460.84.

         5.    The Township’s claim and resulting statutory lien is for delinquent real estate

               taxes, accrued interest and penalties arising and mandated under N.J.S.A. 54:4-67;

               and N.J.S.A. 54:5-6 & 9.

         6.    The Township’s claim is broken down as follows:

      Realty Common Address         Tax Lot and Block                 Outstanding Real Estate
                                                                      Taxes, Interest and
                                                                      Penalties
      8600 River Road               Lot 1, Block 1903                 $635,042.60
      9000 River Road               Lot 4, Block 1903                 $1,175,369.53
      1777 Hylton Road              Lot 9, Block 2107                 $198,048.71

         7.    Under the interim order allowing debtor to obtain post-petition financing, debtor

               shall receive credit facilities in the aggregate amount of approximately

               $85,000,000.00. In return the post-petition lenders will receive a first and/or

               second lien priority status on debtor’s assets, including but not limited to, the

               properties referenced above and upon which the Township tax liens are attached.

               Additionally, the post-petition lenders would receive a super priority

               administrative expense status superior to all other administrative claims that may

               arise in this proceeding.
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        8.    While there are other sufficient assets for the post-petition lenders super priority

              liens to attach, the realty at issue serves as the only source of recovery for the

              Township in the event debtor fails to satisfy its tax obligation to the Township.

              Thus, the Township’s interest would not be adequately protected in the event

              debtor defaults under its obligations to the post-petition lenders thereby resulting

              in an undue hardship for the Township and its citizens who ultimately bear the

              burden of lost revenue generated by real estate taxes by way of lost or reduced

              services.

                     Wherefore, the Township objects to the entry of a final order on the

              debtor’s motion for post-petition financing to the extent it seeks to subordinate the

              Township’s pre-petition real estate tax liens on the subject realty; to wit: 8600

              River Road; 9000 River Road; and 1777 Hylton Road; and to the extent it seeks

              to subordinate any post-petition administrative claim and/or lien to which the

              Township is entitled under 11 U.S.C. Section 503(b)(1)(B)(i) or under applicable

              New Jersey State Law for post-petition real estate taxes that may accrue.


                                                         Respectfully Submitted,
                                                         Parker McCay P.A.
                                                         Attorneys for Pennsauken Township

                                                         /s/ EMMANUEL J. ARGENTIERI
      DATED: MARCH 31, 2008                              EMMANUEL J. ARGENTIERI
